                 Case 1:23-mj-30098-PTM ECF No. 1, PageID.1
                                             AUSA:    Vance Filed 03/09/23 Telephone:
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AO 91 (Rev. ) Criminal Complaint            Special Agent:          Ayriss, FBI                   Telephone: (313) 919-1426

                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                Eastern District of Michigan

United States of America
   v.
Randall Robert Berka II,                                                  Case No.        1:23-mj-30098
                                                                                          Judge: Morris, Patricia T.
                                                                                          Filed: 03-09-2023 At 04:35 PM




                                                  CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of                   March 9, 2023               in the county of                Huron     in the
       Eastern           District of       Michigan        , the defendant(s) violated:
                  Code Section                                            Offense Description

18 U.S.C. § 922(g)(3) and (4)                           Prohibited Person in Possession of a Firearm




         This criminal complaint is based on these facts:




✔ Continued on the attached sheet.

                                                                                           Complainant’s signature

                                                                      Adam Ayriss, Special Agent, FBI
                                                                                            Printed name and title
Sworn to before me and signed in my presence
DQGRUE\UHOLDEOHHOHFWURQLFPHDQV


Date: March 9, 2023                                                                           Judge’s signature

City and state: Bay City, MI                                          Patricia T. Morris, United States Magistrate Judge
                                                                                            Printed name and title
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                              AFFIDAVIT

 I, Adam J. Ayriss, being first duly sworn on oath, state that:

       1.     I am a Special Agent with the Federal Bureau of Investigation

 (FBI) and have been employed since September, 2017. I am assigned to the

 FBI Detroit Flint Resident Agency. I am responsible for investigating

 Domestic Terrorism cases (including Racially Motivated Violent Extremism,

 Anti-Government Extremism, Anarchist Extremism, and Militia Extremism),

 as well as CT Threat Assessments and Threat to Life matters. As part of my

 duties, I have investigated federal criminal violations involving firearms

 violations, possession of explosives, bomb threats, and threats of violence

 communicated over phone and through the use of the internet. I have

 participated in dozens search warrants involving the illegal possession of

 firearms, firearm components, and narcotics.

       2.     This affidavit is made in support of an application for a criminal

 complaint and arrest warrant for Randall Robert BERKA II, Date of Birth

 (DOB) XX/XX/1992, for violations of 18 U.S.C. § 922(g) (unlawful

 possession of a firearm).

       3.     I make this affidavit from personal knowledge based on my

 participation in this investigation, communications with others who have

 personal knowledge of the events and circumstances described herein, and

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 information gained through my training and experience. The information

 outlined below is provided for the limited purpose of securing an arrest

 warrant and establishing probable cause that BERKA committed the above-

 listed offense. This affidavit does not contain all details or all facts of which I

 am aware relating to this investigation.

                           PROBABLE CAUSE

       4.     On March 7, 2023, FBI Detroit opened an investigation into an

 unknown subject making threatening comments on Youtube after Google

 submitted an online tip to the FBI National Threat Operations Section.

 Google reported that a user on Youtube channel Elizabeth’s Husbando

 (hereafter The Account) posted multiple threats to kill law enforcement,

 members of the LGTQ+ community, and government officials. Subscriber

 information attributes The Account to Michelle Marla Berka at a known

 residence on Rose Island Road, Sebewaing, MI 48759. The email address

 associated with The Account as elizadragonaidoruwaifulover69@gmail.com.

 Google payment records for a wallet associated with the email address

 indicate The Account is associated with Michelle Berka at the above listed

 residence.

       5.     Concerning posts on The Account reported to the FBI by Google

 include threats to law enforcement, democrats, and LGBTQ members.

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 Between February 18, 2023 and March 7, 2023, the following posts were

 made by The Account:

    1. “trans freaks and gays lgbt freaks thery all need tot die and be

       genocided its all I tal kabotu aymore is wanting to kill trans freaks

       when I finally get cancer”

    2. “im going to kill these democrats biden deserves to die”

    3. “I bought my gun in 556 so when it gets sued on a drag show or

       tranny blub it goes through a bunch of the and rips the whole crown of

       freaks apar”.

    4. “im gonna kill lgbt freaks and same America”.

    5. “you could be like me and get guns and threaten to kill politicians. Im

       more than willing tot kill whitmer and I do live in Michigan. Ill

       assault her ugly face with my bullets. She was never s assaulted shes

       too ugly for it. She let herself be a p hole for the WEF”.

    6. “I don’t work I refuse to i buy guns though and plot to kill people in

       dc openly fuck the feds ill shoot the fbi if they ever show up”.

    7. “we have to kill the politicians theres nothing wrong with righteous

       violence and death”.

    8. “I can, I have guns and ill kill lgbt freaks and democrat polioticians”

    9. “fuck the feds if fbi ever shows up to talk tot me ill just shoot at them”

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    10. “laws are meant to be broken I was in a nuthouse many tiems against

        my will and I have several firearms they’ll have to kill em to take

        em”.

    11. “democrats need to be shot and die”.

    12. “queers need to die”

    13. “if I ever have to work wit ha tranny freak im going to kill it they

        don’t deserve to live and should be killed indiscriminately and never

        forgiven”.

    14. “hey fbi! My name is randall the 2nd and I live in sebewaing

        Michigan and I am willing to kill these people, fuck it I don’t care,

        fuck the feds, fuck them. Im not mentally ill for needing to be violent

        towards these people, call the ccops, fuck them. Ill shoot them too. I’ll

        kill anyone who tries to take my guns. ANYONE. I AM DONE. TRY

        TO CONFISCATE THEM FROM ME AND I WILL KILL.”

       6.      On March 7, 2023, The Account was observed with a Display

 Name of “kill all federal agents on sight and hang biden,” and a handle URL

 of “@killthefeds420.” Based on my training and experience, I know that 420

 is a common reference to marijuana.

       7.      FBI Detroit conducted database and open source searches for the

 known residence on Rose Island Road, Sebewaing, MI and identified a

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 Randall Robert BERKA II, date of birth XX/XX/1992 residing at the

 residence. FBI Detroit conducted a criminal history check and determined

 BERKA was involuntarily committed for mental health treatment in 2012.

 The state of Michigan determined BERKA to be legally incapacitated and

 appointed Randall Robert Berka Sr as BERKA’s legal guardian in 2013. As

 such, BERKA is prohibited from possessing firearms or ammunition. The

 FBI conducted database checks and determined that Randal Robert Berka Sr

 had registered firearms at the residence.

       8.     On March 9, 2023, members of FBI Detroit Flint Resident

 Agency located and interviewed Michelle Berka at her place of employment.

 Michelle advised the FBI that her son, BERKA lives at the Rose Island Road

 residence with her and her husband. BERKA was involuntarily committed

 for mental health treatment and has since been treated and medicated

 numerous times voluntarily. She stated that BERKA uses marijuana daily.

 Within approximately the last year, Michelle purchased four firearms for

 BERKA (three long guns and one handgun). BERKA keeps his firearms

 stagged in his room at the residence. BERKA has ammunition for his

 firearms and has gone to shoot them; he also possesses body armor. Michelle

 is scared of BERKA, does not think the mental health treatment is working,

 and believes BERKA should be arrested and put in prison.

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                                    Conclusion

           9.    Based on the foregoing, there is probable cause to believe that

     on or before February 18, 2023 and continuing until at least March 9, 2023,

     in the Eastern District of Michigan, BERKA was unlawfully in possession of

     a firearm in violation of 18 U.S.C. § 922(g)(3) and (4), mental defect or who

     has been committed to a mental institution, and an unlawful user of or

     addicted to any controlled substance.



Dated this 9th day of March, 2023


                               _______________________________________
                               Adam J. Ayriss, Special Agent
                               Federal Bureau of Investigation




Sworn to before me and signed in my presence and/or by reliable electronic means
on this 9th day of March, 2023.


                               __________________________________
                               Hon. Patricia T. Morris
                               United States Magistrate Judge




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